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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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ABC et al.,
                                                     18cv11653 (JGK)
                          Petitioners,
                                                    ORDER
               - against -

XYZ CORP. et al.,                                   USDSSDNY
                                                    DOCUMENT
                          Respondents.              ELEcrRONICALLY FILED
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                                                    DOC#: ---7::;;.-t--r--
JOHN G. KOELTL, District Judge:                     DATE FILED:   3
                                                                      n/V>1..._
     A Report and Recommendation was entered by Magistrate Judge

James L. Cott, on March 13, 2019 . recommending that the

settlement be approved in full a11d that the action be unsealed

and all pleadings and related documents be filed on the docket

with redactions to the infants' 11nd parents' names, birth dates,

addresses, and any other information that could lead to

identification of the infant pet:tioners.           Magistrate Judge Cott

also advised the parties that        th~y   had 14 days to file

objections and that a failure to file timely objections would

result in waiver of objections and preclude further appellate

review.

     The parties have notified        Mc~istrate   Judge Cott that they

will not file an objection to the Report and Recommendation.

Moreover, the Report and Recommer. :lat ion are well founded.             The

Court therefore adopts the Report and Recommendation.             The Clerk

is directed to enter judgment in accordance with the structured
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settlement.     The Clerk is also ciirected to unseal this case and

the parties are directed to file redacted documents consistent

with the Report and Recommenda ti:m.

SO ORDERED.

Dated:       New York, New York
             March 18, 2019


                                                ~John G .' Keel tl
                                          United States District Judge
